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                            IN THE UNITED STATES BANKRUPTCY COURT

                                    FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          )   Chapter 11
                                                                    )
    WHITE EAGLE ASSET PORTFOLIO, LP, et al.,1                       )   Case No. 18-12808 (KG)
                                                                    )
                                       Debtors.                     )   Jointly Administered
                                                                    )
                                                                    )   Related Docket Nos. 7, 37

             FINAL ORDER (A) AUTHORIZING THE USE OF CASH
    COLLATERAL, (B) PROVIDING ADEQUATE PROTECTION, AND (C) MODIFYING
                           THE AUTOMATIC STAY

                      Upon the motion (the “Motion”)2 of the debtors and debtors in possession in the

above-captioned cases (collectively, the “Debtors”) under sections 105, 361, 362, 363 and 507 of

title 11 of the United States Code (the “Bankruptcy Code”), Rule 4001 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 4001-2 of the Local Rules of the

United States Bankruptcy Court for the District of Delaware (the “Local Rules”), for interim

and final orders: (a) authorizing the Debtors to use Cash Collateral (as defined below), (b)

providing adequate protection to the Prepetition Secured Parties (as defined below), and (c)

modifying the automatic stay.

                      The Debtors have served notice of the Motion as is appropriate under the

circumstances, as required under sections 102(1) and 363 of the Bankruptcy Code, Bankruptcy




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number include: White Eagle Asset Portfolio, LP (0691); White Eagle General Partner, LLC (8312); and
Lamington Road Designated Activity Company (7738). The location of the Debtors’ service address in these
chapter 11 cases is 5355 Town Center Road, Suite 701, Boca Raton, FL 33486.

2
    Capitalized terms not defined herein shall have the meanings set forth in the Motion.
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Rule 4001(b), and Local Rule 4001-2.

                      The Interim Hearing having been held by this Court on December 17, 2018 and,

upon the record made by the Debtors at the Interim Hearing, after considering the Motion and

the arguments and evidence presented at the Interim Hearing, and after due deliberation and

consideration and sufficient cause appearing therefor, this Court entered the Interim Order

[Docket No. 37] approving the Motion on an interim basis.

                      There being no objection to the Motion, a Certification of Counsel having been

filed, and after considering the Motion and sufficient cause appearing therefor,

                      IT IS HEREBY FOUND, DETERMINED, ORDERED AND ADJUDGED that:

                      1.     Disposition. The Motion is granted on a final basis on the terms set forth

herein. Any objections to the final relief sought in the Motion, and any reservations of rights

with respect to such final relief, that have not been previously resolved or withdrawn, are

overruled on the merits. This Final Order shall be valid, binding and enforceable on all parties in

interest and fully effective immediately upon entry.

                      2.     Jurisdiction and Venue. This Court has jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

United States District Court for the District of Delaware, dated February 29, 2012. This matter

is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2), and the Debtors have

confirmed their consent pursuant to Local Rule 9013-1(f) to the entry of a final order by the

Court in connection with the Motion to the extent that it is later determined that the Court, absent
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consent of the parties, cannot enter final orders or judgments in connection herewith consistent

with Article III of the United States Constitution. No request has been made for the appointment

of a trustee or examiner and no statutory committee has yet been appointed in the chapter 11

cases.

                      3.    Stipulations and Related Reservations.

                            a.     Subject to the provisions of paragraph 3(b) below, the Debtors and

all of the Debtors’ affiliates permanently, immediately, and irrevocably acknowledge, represent,

stipulate and agree to the following:

                            (i)    Debtor White Eagle Asset Portfolio, LP (“White Eagle”), as

                                   borrower, LNV Corporation (“LNV”), as lender, and CLMG

                                   Corp., as administrative agent (the “Prepetition Agent” and,

                                   together with LNV and any other lenders party to the Prepetition

                                   Loan Agreement from time to time, the “Prepetition Secured

                                   Parties”), are party to that certain Second Amended and Restated

                                   Loan and Security Agreement, dated as of January 31, 2017 (as

                                   amended, restated, supplemented or otherwise modified from time

                                   to time, the “Prepetition Loan Agreement”). Under the Prepetition

                                   Loan Agreement and other related Transaction Documents (as

                                   defined in the Prepetition Loan Agreement, the “Prepetition Loan



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                                   Documents”), the Prepetition Secured Parties provided a revolving

                                   facility to White Eagle of up to $370 million.

                            (ii)   As of the Petition Date, the Debtors were indebted and liable to the

                                   Prepetition Secured Parties under the Prepetition Loan Agreement

                                   in the aggregate principal amount of not less than $367.9 million

                                   (all of which reflects funds advanced by the Prepetition Secured

                                   Parties to White Eagle) plus accrued (both before and after the

                                   Petition Date) and unpaid interest, fees, and all other obligations

                                   under the Prepetition Loan Documents (collectively, the

                                   “Prepetition Obligations”); provided that the Debtors expressly

                                   reserve any and all rights to: (A) assert rights, claims, and

                                   defenses against the Prepetition Secured Parties with respect to the

                                   Prepetition Obligations and the Prepetition Loan Documents and

                                   (B) contest, dispute, or otherwise challenge any Prepetition

                                   Obligations including with respect to the “Aggregate Participation

                                   Interest”, the “Participation Interest”, and any other terms utilized

                                   to reflect such component of the Prepetition Obligations in the

                                   Prepetition Loan Agreement (collectively, the “Participation

                                   Interest”).



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                            (iii)   The Prepetition Loan Documents were duly authorized and

                                    properly executed.

                            (iv)    The Prepetition Loan Documents and Prepetition Obligations are

                                    legal, valid, binding and enforceable against the Debtors; provided

                                    that the Debtors expressly reserve any and all rights to: (A) assert

                                    rights, claims, and defenses against the Prepetition Secured Parties

                                    with respect to the Prepetition Obligations and the Prepetition

                                    Loan Documents and (B) contest, dispute, or otherwise challenge

                                    any Prepetition Obligations including with respect to the

                                    Participation Interest.

                            (v)     Under the Prepetition Loan Documents, the Debtors granted (i)

                                    liens and security interests in favor of the Prepetition Agent on

                                    substantially all assets of White Eagle to the extent set forth in the

                                    Prepetition Loan Documents, including its interests in life

                                    insurance policies and the proceeds therefrom, and (ii) pledges of

                                    the equity interests of White Eagle by its limited partner, Debtor

                                    Lamington Road Designated Activity Company, and its general

                                    partner, Debtor White Eagle General Partner, LLC (clauses (i) and

                                    (ii), collectively, the “Prepetition Collateral”). Such liens, security

                                    interests and pledges (the “Prepetition Liens”) are legal, valid,
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                                 binding, enforceable, non-avoidable and properly perfected;

                                 provided that the Debtors expressly reserve any and all rights to:

                                 (A) assert rights, claims, and defenses against the Prepetition

                                 Secured Parties with respect to the Prepetition Obligations and the

                                 Prepetition Loan Documents and (B) contest, dispute, or otherwise

                                 challenge any Prepetition Obligations including with respect to the

                                 Participation Interest. As of the Petition Date, the Debtors are not

                                 aware of any liens or security interests having priority over the

                                 Prepetition Secured Parties’ liens.

                            b.   Subject to the provisions of this paragraph 3(b), the foregoing

stipulations in paragraph 3(a) (the “Stipulations”) are and shall be binding upon the Debtors, all

of the Debtors’ affiliates, and any of the Debtors’ successors, including, without limitation, any

chapter 7 or chapter 11 trustee, responsible person, examiner with expanded powers, or other

estate representative. The Stipulations shall also be binding on each other party-in-interest in

these chapter 11 cases and all of its successors-in-interest and assigns, including without

limitation, any official committee appointed in these chapter 11 cases (a “Committee”), except

(and solely) to the extent that such party-in-interest has requisite standing (subject in all respects

to any agreement or applicable law which may limit such entity’s right or ability to do so) and (i)

has timely filed the proper pleadings, and timely commenced the appropriate proceedings under

the Bankruptcy Code and Bankruptcy Rules, challenging the Stipulations (each such proceeding
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or appropriate pleading commencing a proceeding or other contested matter, a “Challenge”) by

the date that is (x) with respect to any Committee, no later than sixty (60) calendar days

following the formation of such Committee and (y) with respect to any other party with standing,

no later than seventy-five (75) days following entry of the Interim Order (the “Challenge Period

Termination Date”), as such date may be extended in the sole discretion of the Prepetition Agent

and any other Prepetition Secured Party that is the subject of a Challenge, provided, however,

that in the event that a Chapter 7 or Chapter 11 trustee is appointed prior to the Challenge Period

Termination Date, the Challenge Period Termination Date shall be extended for the Chapter 7 or

Chapter 11 trustee to 45 days after their appointment, and (ii) this Court enters judgment in favor

of the plaintiff or movant in any such timely and properly commenced Challenge proceeding,

and any such judgment has become final and is not subject to any further review or appeal. Any

Stipulation that is not subject to a timely and properly filed Challenge shall remain binding and

preclusive on all persons and entities, including the Committee (if any). All remedies or

defenses of any party with respect to any Challenge are hereby preserved. Nothing in this Final

Order vests or confers on any person, including the Committee (if any), standing or authority to

pursue any Challenges. The filing of a motion seeking standing to file a Challenge before the

Challenge Period Termination Date, which attaches a proposed Challenge action, shall extend

the Challenge Period Termination Date with respect to that party until two business days after

the Court approves the standing motion, or such other time period ordered by the Court in

approving the standing motion. To the extent any Challenge proceeding is timely and properly
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commenced, the Prepetition Secured Parties shall be entitled to reimbursement or payment of the

related costs and expenses, including but not limited to reasonable attorneys’ fees, incurred in

defending themselves in any such proceeding, consistent with the provisions of paragraph 7(c)

hereof; provided that such reimbursement shall not available with respect to any Challenge that

is successful.

                            c.    Other than with respect to the Stipulations, the Debtors make no

representation, warranty, acknowledgement or admission regarding whether they have (or do not

have) any defenses, setoffs, counterclaims or recoupments that could be asserted against the

Prepetition Secured Parties and the Debtors reserve all rights, claims and defenses with respect

thereto. Without limitation, the Debtors believe that they have certain affirmative claims against

the Prepetition Secured Parties that will be the subject of further litigation.

                            d.   This Final Order is without prejudice to, and nothing contained in

this Final Order constitutes or shall be deemed a waiver (expressly or implicitly) by any

Prepetition Secured Party of, any rights, claims or defenses that it may have against the Debtors

or any other party-in-interest in these chapter 11 cases or otherwise. The Prepetition Secured

Parties reserve all such rights, claims and defenses in all respects, including, without limitation,

the right to contest or object on any basis to (i) any right, claim, defense or proceeding asserted

by the Debtors or any other party-in-interest against the Prepetition Secured Parties, (ii) any

further request by the Debtors for the use of Cash Collateral other than as expressly provided in

this Final Order, including any further proposed budget in connection therewith, on the terms set
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forth in the Motion or otherwise, and (iii) any other motion, application, or other request or

pleading by the Debtors, whether or not related to line items set forth in the Budget.

Notwithstanding anything in the Interim Order or this Final Order (including the Budget), all

parties’ rights are reserved with respect to the proper allocation of expenses set forth in the

Budget as between the Debtors and their non-Debtor affiliates. Further, and without limiting any

of the rights of the Prepetition Secured Parties, the Prepetition Secured Parties reserve the right

to argue that any distribution to any non-Debtor affiliate in these Chapter 11 Cases (whether

through a plan, a sale or otherwise) should be offset by any amounts transferred to such non-

Debtor affiliate by any Debtor during the Chapter 11 Cases, and the Debtors reserve the right to

contest any such argument.

                      4.    Findings Regarding the Use of Cash Collateral.

                            a.     Cause Shown. Good cause has been shown for the entry of this

Final Order.

                            b.     Business Justification. The Debtors have a need to use “cash

collateral” as such term is defined in section 363 of the Bankruptcy Code in which the

Prepetition Secured Parties have an interest (subject to paragraph 3 above) (the “Cash

Collateral”), including, without limitation, the proceeds of Prepetition Collateral, in order to

permit, among other things, maintenance of the Debtors’ assets. The Debtors’ access to

sufficient working capital and liquidity through the use of Cash Collateral is vital to maximizing

the value of the Debtors’ estates and funding their reorganization efforts.
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                            c.     Fair and Reasonable Terms. Based on the record presented to the

Court, the terms of use of the Cash Collateral herein are fair and reasonable and reflect the

Debtors’ exercise of prudent business judgment.

                            d.     Best Interests. Authorization of the use of the Cash Collateral in

accordance with this Final Order is in the best interests of the Debtors’ estates.

                            e.     Adequate Protection. The Prepetition Secured Parties are entitled,

pursuant to sections 361 and 363(e) of the Bankruptcy Code, and as a condition for the use of the

Prepetition Collateral, including the Cash Collateral, to the adequate protection of their

respective interests in the Prepetition Collateral, including the Cash Collateral (subject to

paragraph 3 above). The Prepetition Secured Parties have negotiated in good faith regarding the

Debtors’ use of the Cash Collateral. Based on the Motion and on the record presented to the

Court, the terms of the proposed adequate protection arrangements are fair and reasonable,

reflect the Debtors’ prudent business judgment, and constitute reasonably equivalent value and

fair consideration for the Prepetition Secured Parties’ consent to the use of Cash Collateral as set

forth herein.

                      5.    Authorization to Use Cash Collateral.

                            a.     Subject to the terms of this Final Order, the Debtors are hereby

authorized to use Cash Collateral from the date hereof through the earliest of: (i) the effective

date of a confirmed plan of reorganization in the chapter 11 cases, (ii) the closing of a sale of all

or substantially all assets of the Debtors; (iii) the dismissal of any of these chapter 11 cases or the
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conversion of any of these chapter 11 cases to a case under chapter 7 of the Bankruptcy Code,

(iv) any material provision of this Final Order having ceased to be valid or binding for any

reason, (v) the Debtors having attempted to modify this Final Order without the prior written

consent of the Prepetition Agent and (vi) five (5) business days following receipt by the Debtors

and the United States Trustee for the District of Delaware (the “U.S. Trustee”), and any official

committee appointed in these cases, of a notice (a “Termination Notice”) from the Prepetition

Agent of a breach by any of the Debtors of (x) any of the terms or provisions of this Final Order

or (y) any covenant or undertaking in any of the Prepetition Loan Documents relating to the

servicing, preservation or maintenance of the Prepetition Collateral so long as the Prepetition

Secured Parties do not take any action in violation of this Final Order that would prevent or

hinder the Debtors from satisfying such covenant or undertaking (the “Final Budget Period”).

Upon the expiration of the Final Budget Period, the Debtors’ authorization to use Cash Collateral

shall automatically terminate; provided, however, the Debtors reserve the right to seek authority

from this Court to use cash collateral on a nonconsensual basis and the Prepetition Secured

Parties reserve the right to object to, contest, or otherwise respond to any such request.

                            b.   Upon and after the delivery of a Termination Notice, the Debtors

and the Prepetition Secured Parties consent to a hearing on an expedited basis to consider

whether the automatic stay may be lifted so that the Prepetition Secured Parties may exercise any

and all of their respective rights and remedies with respect to the Adequate Protection Collateral

(as defined below) in accordance with this Final Order, the applicable Prepetition Loan
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Documents, or applicable law, or to consider any other appropriate relief (including the Debtors’

use of Cash Collateral on a nonconsensual basis); provided that the rights of the Debtors to

oppose any relief requested by the Prepetition Secured Parties and the rights of any Prepetition

Secured Party to oppose any request for relief by the Debtors (including the use of Cash

Collateral on a nonconsensual basis) are, in each case, fully reserved. During the five (5)

business day period after delivery of a Termination Notice, the Debtors’ right to use Cash

Collateral pursuant to this Final Order shall be limited to payment of (i) any expenses set forth in

the Budget that were incurred prior to, and remain unpaid as of, delivery of the Termination

Notice, including Professional Fees, to the extent set forth in paragraph 8 below, (ii) Statutory

Fees (as defined in paragraph 8 below), and (iii) any other critical business-related expenses

necessary to operate the Debtors’ business or preserve the Prepetition Collateral, as determined

by the Debtors in their reasonable discretion and in good faith, and in each case, with prior notice

to the Prepetition Agent and subject in all respects to the Budget. The delay or failure to exercise

rights and remedies under this Final Order or any Loan Document shall not constitute a waiver of

the Prepetition Secured Parties’ rights hereunder, thereunder or otherwise.

                      6.    Disbursements Subject to Budget. The Debtors are only authorized to use

Cash Collateral during the Final Budget Period in a manner consistent with the budget attached

hereto as Exhibit 1 (as such budget may be modified from time to time by the Debtors with the

prior written consent of the Prepetition Agent and with notice to counsel to any Committee, the

“Budget”); provided that, disbursements may occur later than the dates forecasted in the Budget
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so long as such disbursements occur during the Final Budget Period. Cash Collateral shall be

only used for the purposes permitted under the Budget, including (i) to provide working capital

needs of the Debtors and general corporate purposes of the Debtors, (ii) to make the payments or

fund amounts otherwise permitted in this Final Order and the Budget, and (iii) to fund amounts

necessary to pay Statutory Fees; and (iv) to fund amounts necessary to pay Professional Fees (as

defined below) in accordance with the Budget and paragraph 8 hereof, and for no other purpose.

Each of the Debtors shall not be permitted to transfer any Cash Collateral, directly or indirectly,

to any other Debtor or to any non-Debtor affiliate of the Debtors other than as (a) explicitly set

forth in the Budget and only in the amounts necessary to pay for such actual expenses or (b)

consented to in writing beforehand by the Prepetition Agent. Notwithstanding the foregoing,

disbursements by the Debtors for “Total Disbursements” on an aggregate basis during any four-

week period of the Final Budget Period may not exceed 15% from the amounts specified in the

Budget; provided that (i) disbursements under the “Overhead/Operating Costs” line item in the

Budget may not exceed the amounts specified in the Budget during the Final Budget Period (i.e.,

there shall not be any permitted variance for such line item, but disbursements may occur later

than the dates forecasted in the Budget), (ii) subject to the limitation in prong (i) above,

disbursements listed in the “Overhead/Operating Costs Summary” page of the Budget on a line

item basis may not exceed 10% from the amounts specified on such page of the Budget during

any four-week period of the Final Budget Period, (iii) disbursements to any of the Debtors’

Professionals (as defined below) may not exceed 5% from the amounts specified in the Budget
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for such line items during any four-week period of the Final Budget Period and (iv) the Debtors

may not use surplus amounts from any line item in the Budget to pay amounts for any other line

item in the Budget; provided, further, that the Debtors may only use Cash Collateral for the

purposes set forth in the Budget and the Carve-Out.

                      7.    Adequate Protection.

                            a.     Each of the Prepetition Secured Parties is entitled, pursuant to

sections 361, 362(d) and 363(e) of the Bankruptcy Code, to adequate protection of its respective

interests in the Debtors’ property for an amount equal to the aggregate diminution in the value of

such Prepetition Secured Party’s interests in the Debtors’ property (including Cash Collateral)

(the “Diminution in Value”) resulting from, or arising from, or which is attributable to, among

other things, the use, sale or lease by the Debtors of the Cash Collateral and any other Prepetition

Collateral and/or the imposition of the automatic stay pursuant to section 362 of the Bankruptcy

Code. As adequate protection, the Prepetition Agent, for the benefit of the Prepetition Secured

Parties, is hereby granted the following:

                            (i)    subject in all respects to payment of the Carve-Out, a continuing

                                   valid, binding, enforceable, fully-perfected, and non-avoidable

                                   security interest in and lien on all Prepetition Collateral of the

                                   same type and nature that exists as of the Petition Date with the

                                   same validity and priority as exists as of the Petition Date, and all

                                   proceeds thereof (the “Replacement Lien”),
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                            (ii)   solely to the extent of any Diminution in Value and subject in all

                                   respects to payment of the Carve-Out, an additional and

                                   replacement valid, binding, enforceable, fully-perfected, and non-

                                   avoidable senior security interest in and lien (the “Adequate

                                   Protection Lien”) on all property and assets of the Debtors’ estates

                                   (including commercial tort claims and the proceeds thereof and

                                   any claims, defenses, causes of action or rights of the Debtors

                                   arising under chapter 5 of the Bankruptcy Code and applicable

                                   state fraudulent transfer law (“Avoidance Actions”) and the

                                   proceeds thereof) (collectively, the “Adequate Protection

                                   Collateral”); provided, however, that (a) such security interest and

                                   lien shall be junior only to any existing, valid, senior, enforceable

                                   and unavoidable prior perfected security interests and liens in

                                   existence on or as of the Petition Date or that are perfected after

                                   the Petition Date as permitted by section 546(b) of the Bankruptcy

                                   Code (other than the Replacement Lien) and (b) such security

                                   interest and lien shall not attach to any commercial tort claims

                                   against any Prepetition Secured Party or the proceeds thereof or

                                   any Avoidance Actions against any Prepetition Secured Party or

                                   the proceeds thereof, and
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                            (iii)   solely to the extent of any Diminution in Value and subject in all

                                    respects to payment of the Carve-Out, an allowed superpriority

                                    administrative claim in each of the Debtors’ chapter 11 cases

                                    having, to the fullest extent permitted under the Bankruptcy Code,

                                    priority over any and all administrative expenses, adequate

                                    protection claims and other claims against the Debtors, now

                                    existing or hereafter arising, of any kind whatsoever, including,

                                    without limitation, all administrative expenses of the kind specified

                                    in sections 503(b) and 507(b) of the Bankruptcy Code (the

                                    “Adequate Protection Claim”), provided that such claims shall not

                                    have priority over claims of the type specified in section 507(a)(1)

                                    of the Bankruptcy Code, and provided further however, that such

                                    claim shall not, by virtue of this Final Order extend to any

                                    commercial tort claims against any Prepetition Secured Party or

                                    the proceeds thereof or any Avoidance Actions against any

                                    Prepetition Secured Party or the proceeds thereof.

                            b.      As further adequate protection and up to the amounts set forth in

the Budget, the Debtors shall pay to the Prepetition Agent (on behalf of the Prepetition Secured

Parties) in cash (a) upon the entry of this Final Order, all accrued and unpaid interest on the

Prepetition Obligations at the rates provided for in the Prepetition Loan Agreement, and all other
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accrued and unpaid fees and disbursements (including legal and advisory fees and expenses)

owing to the Prepetition Secured Parties under the Prepetition Loan Agreement and incurred

prior to the Petition Date, and (b) when due, all accrued but unpaid interest on the Prepetition

Obligations, and all fees and disbursements owing by the Debtors under the Prepetition Loan

Agreement, at the rates provided for therein; provided that to the extent that any such interest,

fees and disbursements exceed the amounts set forth in the Budget, such interest, fees and

disbursements shall continue to accrue subject to the terms of the Prepetition Loan Documents

and the Prepetition Secured Parties and the Debtors reserve all rights with respect thereto.

                            c.   As further adequate protection and up to the amounts set forth in

the Budget, the Debtors shall pay all reasonable and documented fees, costs, and expenses

(excluding any success fees, completion fees, or bonus compensation) incurred by the Prepetition

Secured Parties’ respective legal, financial, and other advisors (including: (a) White & Case

LLP, (b) any Delaware counsel to the Prepetition Secured Parties; (c) any financial advisor

and/or investment banker to the Prepetition Secured Parties; and (d) such other consultants or

other professionals as may be retained by the Prepetition Secured Parties) (collectively, the

“Secured Party Professionals”) after the Petition Date in connection with the Debtors’ chapter 11

cases (the “Secured Party Professional Fees”); provided that to the extent that any Secured Party

Professional Fees exceed the amounts set forth in the Budget, such Secured Party Professional

Fees shall continue to accrue subject to the terms of the Prepetition Loan Documents and the

Prepetition Secured Parties and the Debtors reserve all rights with respect thereto. The
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Prepetition Secured Parties and the Secured Party Professionals (x) shall not be required to

comply with the U.S. Trustee fee guidelines or file any fee applications with the Court, and (y)

shall provide copies of invoices for Secured Party Professionals to counsel to the Debtors, with a

copy to the U.S. Trustee and counsel to any Committee (collectively, the “Fee Notice

Parties”). The invoices to be provided to the Fee Notice Parties shall contain a general

description of the nature of the matters worked on (other than any privileged, confidential or

commercially or strategically sensitive information), a list of professionals who worked on the

matter, their hourly rate (if such professionals bill at an hourly rate), the number of hours each

professional billed and, with respect to the invoices of law firms, the year of law school

graduation for each attorney; provided that the U.S. Trustee reserves the right to seek to obtain

copies of invoices with detailed time entries and/or unredacted copies of such invoices and the

Prepetition Secured Parties and the Secured Party Professionals reserve the right to contest, or

otherwise respond to, any such request. The provision of such invoices shall not constitute a

waiver of the attorney-client privilege or any benefits of the attorney work product doctrine. If

no objection to payment of the requested Secured Party Professional Fees are made, in writing,

by any of the Fee Notice Parties within ten (10) calendar days after delivery of such invoices (the

“Fee Objection Period”), then, without further order of, or application to, the Court or notice to

any other party, such Secured Party Professional Fees shall be promptly paid by the Debtors up

to the amounts set forth in the Budget (but, in any event, by no later than four (4) business days

after the expiration of the Fee Objection Period). If an objection (solely as to reasonableness) is
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made by any of the Fee Notice Parties within the Fee Objection Period to payment of the

requested fees and expenses, then only the disputed portion of such fees and expenses shall not

be paid until the objection is resolved by the applicable parties in good faith or by order of the

Court. Nothing in this Final Order shall be construed to limit the Prepetition Secured Parties’

respective rights and remedies under the Prepetition Loan Documents or applicable law

regarding engagement and reimbursement of expenses of professionals and advisors.

                            d.   As further adequate protection, the Debtors shall (i) provide the

Prepetition Agent with copies of all reports, information and other materials that are required to

be provided under the Prepetition Loan Agreement at the times set forth in the Prepetition Loan

Agreement, (ii) provide the Prepetition Agent, on Friday of each calendar week, a variance

report comparing, on a line item basis, actual results for the previous individual week and

cumulative weeks to the amounts set forth in the Budget for such previous week and since the

Petition Date, including a narrative explanation with reasonable detail for each material variance,

(iii) continue to coordinate with MLF LexServ, L.P. (“LexServ”) to (A) obtain, as soon as is

reasonably practicable, updated life expectancy reports from ITM TwentyFirst LLC for each

insured life which has been previously underwritten by ITM TwentyFirst LLC, using the new

underwriting methodology and mortality tables announced and adopted by ITM TwentyFirst

LLC during October 2018 and (B) provide such reports to the Debtors and the Prepetition Agent

within one (1) business day after receipt, and (iv) continue to coordinate with LexServ to (A)

obtain as soon as is reasonably practicable, updated life expectancy reports from AVS
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Underwriting, LLC for each insured life which has been previously underwritten by AVS

Underwriting, LLC, using the new underwriting methodology and mortality tables announced

and adopted by AVS Underwriting, LLC during October and November 2018, and (B) to provide

such reports to the Debtors and the Prepetition Agent within one (1) business day after receipt.

                            e.     All parties’ rights are reserved to seek to set aside Replacement

Liens and Adequate Protection Liens granted herein, disallow Adequate Protection Claims

granted herein, and/or recharacterize or disgorge any adequate protection payments made under

this Final Order if the underlying Prepetition Liens or prepetition claims of the Prepetition

Secured Parties are successfully challenged pursuant to paragraph 3(b) of this Final Order, and

the Prepetition Secured Parties reserve all rights to contest any such request.

                      8.    Payment of Statutory Fees; Professionals; Carve-Out; Funding Thereof.

                            a.     Payments of Professional Fees and Statutory Fees. Prior to the

delivery of the Termination Notice under this Final Order, the Debtors shall be permitted to pay

(x) statutory fees payable to the U.S. Trustee pursuant to 28 U.S.C. § 1930(a)(6), together with

the statutory rate of interest, and any fees payable to the Clerk of the Court, which shall not be

subject to any budget (collectively, “Statutory Fees”) and (y) professional fees and expenses

incurred by attorneys, accountants and other professionals, including ordinary course

professionals, retained by the Debtors and any Committee under sections 327 or 1103(a) of the

Bankruptcy Code (together, the “Professionals” and each, a “Professional”), including any

expenses of the members of such Committee, (the “Professional Fees”) solely (i) to the extent
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allowed by Court order and payable under sections 326, 328, 330 and 331 of the Bankruptcy

Code and any interim compensation procedures order and (ii) in amounts not exceeding the

amounts set forth in the Budget for each such Professional’s Professional Fees.

                            b.   Carve-Out. Payment of any amounts on account of the Prepetition

Obligations, the Prepetition Liens, the Replacement Lien, the Adequate Protection Lien, and the

Adequate Protection Claim, and any other claims and liens granted by this Final Order, shall be

subject and subordinate in all respects to the payment of the following (collectively, the “Carve-

Out”): (i) Statutory Fees; (ii) the unpaid and outstanding reasonable fees and expenses actually

incurred by Professionals on or after the Petition Date and through the day of delivery of a

Termination Notice under this Final Order, up to the amounts set forth for each Professional in

the Budget for such period, to the extent allowed by Court order and payable under sections 326,

328, 330 and 331 of the Bankruptcy Code and any interim compensation procedures order; and

(iii) the unpaid and outstanding reasonable fees and expenses actually incurred by the

Professionals from or after the day following the delivery of a Termination Notice under this

Final Order, to the extent allowed by Court order and payable under sections 326, 328, 330, and

331 of the Bankruptcy Code and any interim compensation procedures order, in an aggregate

amount not to exceed $250,000 (the “Post-Termination Carve-Out Cap”).

                            c.   Funding of Carve-Out. Upon delivery of a Termination Notice, the

Debtors shall deposit into the trust account for the Debtors’ general bankruptcy counsel or other

segregated reserve or escrow account (the “Carve-Out Account”) in an aggregate amount equal
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to the sum of the Post-Termination Carve-Out Cap plus all unpaid and outstanding reasonable

fees and expenses actually incurred by all of the Professionals prior to the delivery of the

Termination Notice in an amount not to exceed the amounts set forth in the Budget for the

payment of such Professionals through the date of delivery of the Termination Notice. The funds

in the Carve-Out Account shall be used solely to pay Professional Fees as and when allowed by

order of the Court in accordance with paragraph 8(b) above. To the extent the Court does not

approve any of the Professional Fees that were to be paid from funds segregated in the Carve-

Out Account, or any amounts in the Carve-Out Account are ultimately not used for such

purposes, such unused amounts shall be returned to the Debtors, subject to the rights, liens and

claims of the Prepetition Secured Parties under this Final Order and the Prepetition Loan

Documents.

                            d.   Notwithstanding the provisions of this Final Order (including this

paragraph 8), the rights of the Prepetition Secured Parties, the U.S. Trustee and all other parties

in interest to object to the allowance of any fees and expenses, whether or not such fees and

expenses were incurred in accordance with the Budget, are reserved. The Prepetition Secured

Parties shall not be responsible for the direct payment or reimbursement of any Professional

Fees, any Statutory Fees or the fees or expenses of any other party incurred in connection with

these chapter 11 cases or any successor case. The appearance of any Professional Fees in the

Budget are for purposes of estimated accruals only and (x) shall not be deemed an authorization

for the Debtors to pay any Professional Fees absent a Court order authorizing such payment and
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(y) shall not, in any way, be probative (or otherwise have any impact) with respect to the

allowance of the payment of any such Professional Fees or any party’s right to object to the

payment of such Professional Fees. This Final Order does not, and shall not be deemed to, itself

authorize the payment of any Professional Fees.

                      9.    Perfection of Replacement Lien and Adequate Protection Lien.

                            a.     Further Assurances. The Prepetition Secured Parties are hereby

authorized, but not required, to file or record financing statements, trademark filings, copyright

filings, notices of lien or similar instruments in any jurisdiction, or take possession of or control

over, or take any other action (including taking or releasing any liens or pledges granted by this

Final Order) in order to validate and perfect the liens granted to them hereunder. Whether or not

any of the Prepetition Secured Parties, in its respective sole discretion, chooses to file such

financing statements, trademark filings, copyright filings, notices of lien or similar instruments

that may be otherwise required under federal or state law in any jurisdiction, or take any action,

including taking possession, to validate and perfect such security interests and liens, and/or take

possession of or control over, or otherwise confirm perfection of the liens and security interests

granted to them hereunder, such liens and security interests shall be deemed valid, perfected,

allowed, enforceable, non-avoidable and not subject to challenge, dispute or subordination, as of

the date of entry of the Interim Order.

                            b.     Modification of Automatic Stay. If any of the Prepetition Secured

Parties, each in their respective sole discretion, decides to file any financing statements,
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trademark filings, copyright filings, notices of lien or similar instruments, or otherwise to

confirm perfection of the liens granted hereby, the Debtors shall cooperate with and assist in

such process, the Prepetition Agent is hereby granted a special power of attorney to act in name,

place and stead of the applicable Debtors for the purposes of taking any such actions, the stay

imposed under section 362 of the Bankruptcy Code is hereby lifted to permit the filing and

recording of a certified copy of this Final Order or any such financing statements, trademark

filings, copyright filings, notices of lien or similar instruments, and all such documents shall be

deemed to have been filed and recorded at the time of and on the date of the Interim Order.

                            c.     Certified Copy of Final Order. A certified copy of this Final Order

may, in the discretion of any of the Prepetition Secured Parties, be filed with or recorded in filing

or recording offices in addition to or in lieu of such financing statements, notices of lien or

similar instruments, and all filing offices are hereby authorized to accept such certified copy of

this Final Order for filing and recording.

                      10.   No Marshaling/Application of Proceeds. The Prepetition Secured Parties

shall not be subject to the equitable doctrine of “marshaling” or any other similar doctrine with

respect to any of the Prepetition Collateral or Adequate Protection Collateral, as the case may be.

The proceeds of any Prepetition Collateral or Adequate Protection Collateral shall be received

and applied in accordance with this Final Order.

                      11.   Section 552(b). The Prepetition Secured Parties shall each be entitled to

all of the rights and benefits of section 552(b) of the Bankruptcy Code, including in respect of
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postpetition revenues and payment in connection with (and as proceeds of) any Prepetition

Collateral and, the “equities of the case” exception under section 552(b) of the Bankruptcy Code

shall not apply to any of the Prepetition Secured Parties with respect to proceeds, product,

offspring or profits of any of the Prepetition Collateral.

                      12.   Section 506(c) Waiver. No costs or expenses of administration that have

been or may be incurred in any of these chapter 11 cases or any successor cases at any time shall

be charged against any Prepetition Secured Party, any of their respective claims, any Prepetition

Obligations, the Adequate Protection Lien, the Adequate Protection Claim, any Prepetition Liens

or any Prepetition Collateral, including any Cash Collateral, pursuant to sections 506(c) or

105(a) of the Bankruptcy Code, or otherwise, without the prior written consent of the Prepetition

Agent.

                      13.   Credit Bid. All rights of the Prepetition Secured Parties and the Debtors

are reserved with respect to the ability of the Prepetition Agent, on behalf of Prepetition Secured

Parties, to exercise the right to credit bid under section 363(k) of the Bankruptcy Code in

connection with a sale of the Debtors’ assets under section 363 of the Bankruptcy Code or under

a chapter 11 plan. Nothing in this Final Order shall affect, impair, or prejudice any rights that

the Prepetition Secured Parties may have under section 363(k) of the Bankruptcy Code, or that

the Debtors may have to contest such rights under section 363(k) of the Bankruptcy Code.

                      14.   Good Faith. Each of the Prepetition Secured Parties has acted in good

faith (including, without limitation, for the purposes of section 363(m) of the Bankruptcy Code)
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in connection with this Final Order and its reliance on this Final Order has been and is in good

faith.

                      15.   Modification of Automatic Stay. The automatic stay under Bankruptcy

Code section 362(a) is hereby modified as necessary to effectuate all of the terms and provisions

of this Final Order, including, without limitation, to: (a) permit the Debtors to grant the

Replacement Lien and the Adequate Protection Lien and incur the Adequate Protection Claim;

(b) permit the Debtors to perform such acts as may be needed to assure the perfection and

priority of the liens granted herein; (c) permit the Debtors to incur all liabilities and obligations

under the terms of this Final Order; and (d) authorize the Debtors to pay, and the Prepetition

Secured Parties to retain and apply, any payments made in accordance with the terms of this

Final Order.

                      16.   Preservation of Rights Granted Under This Final Order. The liens and

claims granted by the provisions of this Final Order shall survive, and shall not be modified,

impaired or discharged by (i) the entry of an order converting any of the chapter 11 cases to a

case under chapter 7 or dismissing such chapter 11 case, or (ii) the entry of an order confirming a

chapter 11 plan in the chapter 11 cases.

                      17.   Binding Effect; Successors and Assigns. The provisions of this Final

Order, including all findings herein, shall be binding upon all parties in interest in the chapter 11

cases, including, without limitation, the Prepetition Secured Parties, any Committee, and the

Debtors, and their respective successors and assigns (including any chapter 7 or chapter 11
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trustee hereinafter appointed or elected for the Debtors’ estates) and shall inure to the benefit of

the Prepetition Secured Parties and the Debtors, and their respective successors and assigns.

                      18.   Reservation of Rights. The Debtors reserve all rights to seek other or

additional use of Cash Collateral on such further or different terms and conditions as may be

approved by the Court and the Prepetition Secured Parties reserve all rights with respect to any

such request. This Final Order is without prejudice to, and does not constitute a waiver of,

expressly or implicitly, the rights of the Prepetition Secured Parties to request additional forms of

adequate protection at any time or the rights of the Debtors or any other party to contest such

request. The Debtors and the Prepetition Secured Parties reserve all rights with respect to

whether the Prepetition Obligations and the Prepetition Liens extend to the proceeds of any

commercial tort claim or Avoidance Action recovered from any Prepetition Secured Party.

                      19.   No Third Party Rights. Except as explicitly provided for herein, this Final

Order does not create any rights for the benefit of any third party, creditor, equity holder or any

direct, indirect or incidental beneficiary.

                      20.   Amendments. Except as otherwise provided herein, no waiver,

modification, or amendment of any of the provisions hereof shall be effective unless set forth in

writing, signed by, or on behalf of, the Debtors and the Prepetition Agent, and approved by the

Court after notice to parties-in-interest.

                      21.   Effectiveness. Notwithstanding Bankruptcy Rules 4001(a)(3), 6004(h),

6006(d), 7062 or 9024 or any other Bankruptcy Rule, or Rule 62(a) of the Federal Rules of Civil
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Procedure, this Final Order shall be immediately effective and enforceable upon its entry and

there shall be no stay of execution of effectiveness of this Final Order as provided in such Rules.




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       Dated: January 15th, 2019                KEVIN GROSS
         Wilmington,
01/15/2019 12:51 PM  Delaware                   UNITED STATES BANKRUPTCY JUDGE
